             Case 18-11801-LSS   Doc 675-1   Filed 10/18/18   Page 1 of 19



                                     Exhibit 1




10014280v7
No.   Michael's                                                         Lease                        Cure       Landlord Objection
        List                  Landlord              Attorneys          Location      Address        Amount        Cure Amount
                   FALLAS BORROWER IV LLC      Fallas                Real         9060 Firestone   $63,800.00
                   15001 SO. FIGUEROA ST.                            Property     Blvd.
                   GARDENA, CA 90248                                 Lease for    Downey, CA
                                                                     Location #   90241
 1           118                                                     118
                   5450 CHERRY LLC                                   Real         5502-A Cherry    $52,433.34
                   C/O LBPM                                          Property     Avenue
                   4730 WOODMAN AVE. #200                            Lease for    Long Beach, CA
                   SHERMAN OAKS, CA 91423                            Location #   90805
 2           159                                                     159
                   FALLAS BORROWER IV LLC      Fallas                Real         15001 S.         $39,581.00
                   J&M PROPERTIES LLC                                Property     Figueroa St.
                                                                                                                                     Case 18-11801-LSS




                   15001 SO. FIGUEROA ST.                            Lease for    Gardena, CA
                   GARDENA, CA 90248                                 Location #   90248
 3           100                                                     100
                   6719 PACIFIC BOULEVARD RE                         Real         6719 Pacific
                   HOLDINGS                                          Property     Blvd.
                   15001 SO. FIGUEROA ST.                            Lease for    Huntington
                                                                                                                                     Doc 675-1




                   GARDENA, CA 90248                                 Location #   Park, CA 90255
 4        102A                                                       102A
                   FALLAS BORROWER I, LLC      Fallas                Real         6723-6725        $67,675.00
                   15001 SO. FIGUEROA ST.                            Property     Pacific Blvd.
                   GARDENA, CA 90248                                 Lease for    Huntington
                                                                     Location #   Park, CA 90255
 5        102B                                                       102B
                   UPSIDE CRENSHAW             Robert L. LeHane      Real         2870 W.          $34,141.22    $47,196.52
                                                                                                                                     Filed 10/18/18




                   HOLDING, LLC                Jennifer D. Raviele   Property     Imperial Hwy.
                   C/O NEWMARK MERRILL         Kelley Drye &         Lease for    Inglewood, CA
                   COMPANIES                   Warren LLP            Location #   90303
                   5850 CANOGA AVE.            101 Park Avenue       177
                   SUITE 650                   New York, New
                   WOODLAND HILLS, CA 91367    York 10178
                                               Tel: 212-808-7800
                                                                                                                                     Page 2 of 19




                                               Fax: 212-808-7897
                                               KDWBankruptcyDe
                                               partment@kelleydry
 6           177                               e.com


10014280v7
                                              rlehane@kelleydrye
                                              .com
                                              jraviele@kelleydrye
                                              .com
                   FALLAS BORROWER IV, LLC    Fallas                Real         909, 911 N.      $44,540.00
                   15001 S FIGUEROA ST                              Property     Avalon Blvd.
                   GARDENA, CA 90248                                Lease for    Wilmington, CA
                                                                    Location #   90744
 8           430                                                    430
                   449 S. BROADWAY LLC        Fallas                Real         445 S.           $197,041.58
                   15001 SO. FIGUEROA ST.                           Property     Broadway
                   GARDENA, CA 90248                                Lease for    Los Angeles,
                                                                    Location #   CA 90013
 9      101A                                                        101A
                                                                                                                             Case 18-11801-LSS




                   FALLAS BORROWER IV, LLC                          Real         449 S.
                   15001 SO. FIGUEROA ST.                           Property     Broadway
                   GARDENA, CA 90248                                Lease for    Los Angeles,
                                                                    Location #   CA 90013
 10      101B                                                       101B
                   4765 WHITTIER BLVD RE                            Real         4774 Whittier
                                                                                                                             Doc 675-1




                   HOLDINGS                                         Property     Blvd.
                   15001 S FIGUEROA ST                              Lease for    Los Angeles,
                   GARDENA, CA 90248                                Location #   CA 90022
 11          104                                                    104
                   DMDE PROPERTIES, LP                              Real         1533 N.          $50,200.00
                   1118 E ROUTE 66                                  Property     Vermont Ave.
                   GLENDORA, CA 91740                               Lease for    Los Angeles,
                                                                    Location #   CA 90027
                                                                                                                             Filed 10/18/18




                   LUCILLE H ERICKSON,                              115
                   TRUSTEE OF THE ERICKSON
                   TRUST 1986 " Q TIP TRUST
                   3300 IRVINE AVENUE
                   SUITE 270
 12          115   NEWPORT BEACH, CA 92660
                   WESTERN & VENICE SC, LLC   Roye Zur, Esquire     Real         1645 S Western   $83,333.34    $99,498.94
                                                                                                                             Page 3 of 19




                   6300 WILSHIRE BLVD         Landau Gottfried &    Property     Ave.
                   STE. 1490                  Berger LLP            Lease for    Los Angeles,
                   LOS ANGELES, CA 90048      1801 Century Park     Location #   CA 90006
 13          637                              East, Suite 700       637


10014280v7
                                                          Los Angeles, CA
                                                          90067
                                                          (310) 557-0050
                                                          (310) 557-0056
                                                          rzur@lgbfirm.com

                                                          Christopher P.
                                                          Simon, Esquire
                                                          Cross & Simon,
                                                          LLC
                                                          1105 North Market
                                                          Street, Suite 901
                                                          Wilmington,
                                                          Delaware 19801
                                                                                                                                              Case 18-11801-LSS




                                                          (302) 777-4200
                                                          (302) 777-4224
                                                          csimon@crosslaw.c
                                                          om
                       FALLAS BORROWER II, LLC            Fallas                 Real           6633 Van Nuys     $135,290.00
                       15001 S. FIGUEROA STREET                                  Property       Blvd.
                                                                                                                                              Doc 675-1




                       GARDENA, CA 90248                                         Lease for      Van Nuys, CA
                                                                                 Location #     91411
     14          106                                                             106
                       J & M PROPERTIES, LLC              Fallas                 Real           575 S. Ventura    $45,000.00    $60,312.793
                       15001 SO. FIGUEROA ST.                                    Property       Rd.
                       GARDENA, CA 90248                                         Lease for      Oxnard, CA
                                                                                 Location #     93033
     15          117                                                             117
                                                                                                                                              Filed 10/18/18




                       99 CENTS ONLY STORES               Ballard Spahr LLP      Real           12480             $54,000.46    $67,714.76
                       4000 UNION PACIFIC AVE             Attn: David L.         Property       Amargosa Rd.,
                       ATTN: REAL ESTATE DEPT             Pollack, Esq.          Lease for      Suite A
                       #0137 CITY OF COMMERCE,            51st Floor - Mellon    Location #     Victorville, CA
                       CA 90023"3202                      Bank Center            129            92392
                                                          1735 Market Street
                                                          Philadelphia, PA
                                                                                                                                              Page 4 of 19




                                                          19103
                                                          (215) 864-8325
     16          129                                      (215) 864-9473

3
    This amount represents an amount alleged to be owed under an REA with a third-party property owner.

    10014280v7
                                               pollack@ballardspa
                                               hr.com

                                               Ballard Spahr LLP
                                               Attn: Leslie C.
                                               Heilman (person to
                                               contact)
                                               919 N. Market
                                               Street, 11th Floor
                                               Wilmington, DE
                                               19801
                                               (302) 252-4465
                                               (302) 252-4466
                                               heilmanl@ballardsp
                                                                                                                Case 18-11801-LSS




                                               ahr.com

                                               Ballard Spahr LLP
                                               Attn: Dustin P.
                                               Branch
                                               2029 Century Park
                                                                                                                Doc 675-1




                                               East, Suite 800
                                               Los Angeles, CA
                                               90067-3012
                                               (424) 204-4354
                                               (424) 204-4350
                                               branchd@ballardspa
                                               hr.com
                   JR 7TH STREET, LLC                               Real         14598 7th         $26,400.00
                                                                                                                Filed 10/18/18




                   11111 SANTA MONICA BLVD.,                        Property     Street, #B
                   STE. 520                                         Lease for    Victorville, CA
                   LOS ANGELES, CA 90025                            Location #   92395
 17          420                                                    420
                   FALLAS BORROWER IV, LLC     Fallas               Real         1661 N.           $51,939.40
                   15001 SO. FIGUEROA ST.                           Property     Hacienda Blvd.
                   GARDENA, CA 90248                                Lease for    La Puente, CA
                                                                                                                Page 5 of 19




                                                                    Location #   91744
 18          124                                                    124
                   J & M PROPERTIES, LLC       Fallas               Real         1743 E.           $44,342.00
                   15001 SO. FIGUEROA ST.                           Property     Palmdale Blvd.
 19          132   GARDENA, CA 90248                                Lease for

10014280v7
                                                                   Location #   Palmdale, CA
                                                                   132          92550
                   FALLAS BORROWER IV, LLC   Fallas                Real         601A E. Holt      $42,048.00
                   POMONA DEVELOPMENT LLC                          Property     Avenue
                   15001 S FIGUEROA ST                             Lease for    Pomona, CA
                   GARDENA, CA 90248                               Location #   91767
 20          186                                                   186
                   FALLAS BORROWER IV, LLC   Fallas                Real         1261 N. Azusa     $120,198.00
                   15001 SO. FIGUEROA ST                           Property     Ave.
                   GARDENA, CA 90248                               Lease for    Covina, CA
                                                                   Location #   91722
 21          417                                                   417
                   4010 EAST HIGHLAND        Fallas                Real         4010 E.           $102,948.00
                   AVENUE LLC                                      Property     Highland Ave.
                                                                                                                Case 18-11801-LSS




                   15001 S FIGUEROA STREET                         Lease for    Highland, CA
                   GARDENA, CA 90248                               Location #   92346
 22          400                                                   400
                   FALLAS BORROWER IV, LLC   Fallas                Real         34 E. 2nd St.     $55,550.00
                   15001 SO. FIGUEROA ST.                          Property     Calexico, CA
                   GARDENA, CA 90248                               Lease for    92231
                                                                                                                Doc 675-1




                                                                   Location #
 23          123                                                   123
                   FALLAS BORROWER IV, LLC   Fallas                Real         840 S. Alvarado   $53,300.00
                   15001 S. FIGUEROA ST                            Property     Blvd.
                   GARDENA, CA 90248                               Lease for    Los Angeles,
                                                                   Location #   CA 90057
 24          437                                                   437
                   PACLEXICO,LLC                                   Real         2320 N.           $36,725.22
                                                                                                                Filed 10/18/18




                   12100 WILSHIRE BLVD                             Property     Imperial Ave.
                   STE. 1050                                       Lease for    Calexico, CA
                   LOS ANGELES, CA 90025                           Location #   92231
 25          141                                                   141
                   J & M PROPERTIES, LP      Fallas                Real         1800 E. Palo      $56,915.38
                   15001 SO. FIGUEROA ST.                          Property     Verde St.
                   GARDENA, CA 90248                               Lease for    Yuma, AZ
                                                                                                                Page 6 of 19




                                                                   Location #   85365
 26          207                                                   207
                   527 MAIN STREET LLC       Kevin Capuzzi, Esq.   Real         22441 Hwy 95      $17,238.00
                   12219 LEMON CT            222 Delaware          Property     527 North Main
 27          607   TRUCKEE, CA 96161         Avenue, Suite 801     Lease for    St.

10014280v7
                                                 Wilmington, DE      Location #   San Luis, AZ
                                                 19801               607          85349
                                                 302.442.7063
                                                 kcapuzzi@beneschl
                                                 aw.com
                   FALLAS BORROWER IV, LLC       Fallas              Real         6300 Mack          $42,000.34
                   15001 S FIGUEROA ST                               Property     Road
                   GARDENA, CA 90248                                 Lease for    Sacramento, CA
                                                                     Location #   95823
 28          173                                                     173
                   FALLAS BORROWER IV, LLC       Fallas              Real         2602               $139,385.00
                   15001 SO. FIGUEROA ST                             Property     Somersville Rd.
                   GARDENA, CA 90248                                 Lease for    Antioch, CA
                                                                     Location #   94509
                                                                                                                                 Case 18-11801-LSS




 29          402                                                     402
                   SAVE MART SUPERMARKETS                            Real         13220 San Pablo    $99,575.50
                   SMS MANAGEMENT                                    Property     Ave.
                   P.O. BOX 5234                                     Lease for    San Pablo, CA
                   MODESTO, CA 95352"5234                            Location #   94806
 30          147                                                     147
                                                                                                                                 Doc 675-1




                   ALBERTSONS/SAFEWAY INC                            Real         375 N. Capitol     $143,053.68
                   250 E PARKCENTER BLVD                             Property     Ave.
                   ATTN: TARA EMERY PROP                             Lease for    San Jose, CA
                   MGMT (3108)                                       Location #   95133
 32          175   BOISE, ID 83706                                   175
                   FALLAS BORROWER IV, LLC       Fallas              Real         10715-10739        $51,543.00
                   15001 S FIGUEROA ST                               Property     MacArthur
                   GARDENA, CA 90248                                 Lease for    Blvd.
                                                                                                                                 Filed 10/18/18




                                                                     Location #   Oakland, CA
 33          431                                                     431          94605
                   RALPHS GROCERY COMPANY                            Real         1022 East Alisal   $70,604.46    $108,226.20
                   ATTN: PROPERTY                                    Property     Salinas, CA
                   MANAGEMENT                                        Lease for    93905
                   1100 W. ARTESIA BLVD.                             Location #
 34          658   COMPTON, CA 90220                                 658
                                                                                                                                 Page 7 of 19




                   MISSION LODGE MASONIC         Nancy J. Newman,    Real         2664 Mission       $25,710.00    $40,848.00
                   HALL                          Esq.                Property     St.
                   CA CORP                       Hanson Bridgett     Lease for    San Francisco,
                   2668 MISSION ST., 2ND FLOOR   LLP                 Location #   CA 94110
 35          662   SAN FRANCISCO, CA 94110                           662

10014280v7
                                               425 Market Street,
                                               26th Floor
                                               San Francisco, CA
                                               94105
                                               415-995-5052
                                               Direct Phone
                                               415-995-3450 Fax
                                               nnewman@hansonb
                                               ridgett.com

                                               Susan E. Kaufman,
                                               Esq.
                                               919 North Market
                                               Street, Suite 460
                                                                                                                Case 18-11801-LSS




                                               Wilmington, DE
                                               19801
                                               (302) 472-7420 /
                                               (302) 792-7420 Fax
                                               skaufman@skaufma
                                               nlaw.com
                                                                                                                Doc 675-1




                   FORCE FULTON MALL LLC       Fallas               Real         1136 Fulton       $20,000.00
                   15001 S. FIGUEROA ST.                            Property     Mall
                   GARDENA, CA 90248                                Lease for    Fresno, CA
                                                                    Location #   93721
 36          111                                                    111
                   1467 COUNTRY CLUB DRIVE     Fallas               Real         1467 Country      $98,538.00
                   LLC                                              Property     Club Dr.
                                                                                                                Filed 10/18/18




                   15001 S FIGUEROA ST                              Lease for    Madera, CA
                   GARDENA, CA 90248                                Location #   93638
 37          428                                                    428
                   1240 WEST MAIN STREET LLC   Fallas               Real         1240 West.        $27,962.00
                   15001 S FIGUEROA ST                              Property     Main St.
                   GARDENA, CA 90248                                Lease for    Merced, CA
                                                                    Location #   95340
                                                                                                                Page 8 of 19




 38          640                                                    640
                   FALLAS BORROWER IV, LLC     Fallas               Real         201 Town          $55,500.00
                   15001 SO. FIGUEROA ST                            Property     Center W.
                   GARDENA, CA 90248                                Lease for    Santa Maria, CA
 39          413                                                                 93458

10014280v7
                                                                    Location #
                                                                    413
                   580 NORTH 11TH STREET LLC   Fallas               Real         580 North 11th     $36,030.00
                   15001 SO. FIGUEROA ST                            Property     Street
                   GARDENA, CA 90248                                Lease for    Hanford, CA
                                                                    Location #   93230
 40          630                                                    630
                   FALLAS BORROWER IV, LLC     Fallas               Real         2300 White         $53,800.00
                   15001 S FIGUEROA ST                              Property     Lane
                   GARDENA, CA 90248                                Lease for    Bakersfield, CA
                                                                    Location #   93304
 41          695                                                    695
                   JEEG TRUST                                       Real         4510 Meadows       $52,833.34
                   309 W. LAKE MEAD PKY                             Property     Lane
                                                                                                                              Case 18-11801-LSS




                   STE. # 150                                       Lease for    Las Vegas,
                   HENDERSON, NV 89015                              Location #   Nevada 89107
 42          120                                                    120
                   SUNRISE MARKETPLACE         Saul Ewing           Real         480 North Nellis   $52,456.17   $73,703.73
                   STATION LLC                 Arnstein & Lehr      Property     Blvd.
                   11501 NORTHLAKE DR          LLP                  Lease for    Las Vegas, NV
                                                                                                                              Doc 675-1




                   CINCINNATI, OH 45249        Maria Ellena         Location #   89110
                                               Chavez-Ruark, Esq.   128
                                               500 East Pratt
                                               Street, 9th Floor
                                               Baltimore, MD
                                               21202
                                               (410) 332-8797
                                               maria.ruark@saul.c
                                                                                                                              Filed 10/18/18




                                               om

                                               Saul Ewing
                                               Arnstein & Lehr
                                               LLP
                                               Lucian Murley,
                                               Esquire
                                                                                                                              Page 9 of 19




                                               1201 North Market
                                               Street, Suite 2300
                                               P.O. Box 1266
                                               Wilmington, DE
 43          128                               19899

10014280v7
                                            (302) 421-6898
                                            luke.murley@saul.c
                                            om
                   ARILEX TROPICANA                               Real         3085 E.           $28,162.74
                   ASSOCIATES, LLC                                Property     Tropicana Ave.
                   C/O MDL GROUP                                  Lease for    Las Vegas, NV
                   5960 SOUTH JONES BLVD.                         Location #   89121
 44          178   LAS VEGAS, NV 89118                            178
                   J & M PROPERTIES, LLC    Fallas                Real         308 E.            $40,266.00
                   15001 SO. FIGUEROA ST.                         Property     University Ave.
                   GARDENA, CA 90248                              Lease for    Mesa, AZ
                                                                  Location #   85201
 46          330                                                  330
                   LOMA LINDA MALL, LLC     Russell E. Krone      Real         323 West          $16,215.47
                                                                                                              Case 18-11801-LSS




                   MS. JULIE NILES, PROP.   Thompson•Krone,       Property     Mariposa Rd.
                   MANAGER                  P.L.C.                Lease for    Nogales, AZ
                   VENTURE WEST REAL        4601 East Ft.         Location #   85621
                   ESTATE SERVICES          Lowell Rd. Suite      602
                   6007 E. GRANT ROAD       109 Tucson,
                   TUCSON, AZ 85712         Arizona 85712
                                                                                                              Doc 675-1




                                            p: (520) 884-9694
                                            Ext. 12 f: (520)
                                            323-4613
                                            russ@thompsonkro
 48          602                            ne.com
                   LARRIVA CORPORATION                            Real         75 North          $29,884.00
                   441 N GRAND AVE.                               Property     Terrace Ave.
                                                                                                              Filed 10/18/18




                   STE. 14                                        Lease for    Nogales, AZ
                   NOGALES, AZ 85621                              Location #   85621
 49          603                                                  603
                   DESERT SKY ESPLANADE,    Cameron Nazemi        Real         2020 N. 75th      $23,393.73
                   LLC                      (person to contact)   Property     Avenue
                   PO BOX 3329              Sr. Vice President    Lease for    Suite 45
                   SEAL BEACH, CA 90740     and General           Location #   Phoenix, AZ
                                            Counsel               189          85035
                                                                                                              Page 10 of 19




                   DESERT SKY ESPLANADE,    Red Mountain
                   LLC                      Group
                   C/O PROPERTY             1234 E. 17th Street
                   MANAGEMENT ADVISORS      Santa Ana, CA
 50          189   INC                      92701

10014280v7
                   1234"B E. 17TH STREET       657.383.4207
                   SANTA ANA, CA 92701         Cell 949.677.5296
                                               cnazemi@rmrgrnc.c
                                               om

                                               Byron Z. Moldo
                                               Ervin Cohen &
                                               Jessup LLP
                                               9401 Wilshire
                                               Boulevard, 9th
                                               Floor
                                               Beverly Hills, CA
                                               90212
                                               310.273.6333
                                                                                                                Case 18-11801-LSS




                                               310.887.6802
                                               bmoldo@ecjlaw.co
                                               m
                   HERSON PROPERTIES LLC                           Real         26 East Baseline   $24,630.79
                   C/O WESSEX COMMERCIAL                           Property     Rd. Ste. # 110
                   MGMT                                            Lease for    Phoenix, AZ
                                                                                                                Doc 675-1




                   PO BOX 44033                                    Location #   85040
                   PHOENIX, AZ 85064"4033                          332

                   HERSON PROPERTIES LLC
                   C/O WESSEX COMMERCIAL
                   MGMT
                   3295 N. DRINKWATER BLVD.,
                   STE. 11
                                                                                                                Filed 10/18/18




 51          332   SCOTTSDALE, AZ 85251
                   J & M PROPERTIES, LP        Fallas              Real         333 Montano        $42,570.50
                   15001 SO. FIGUEROA ST.                          Property     Rd. NW
                   GARDENA, CA 90248                               Lease for    Albuquerque,
                                                                   Location #   NM 87107
 52          300                                                   300
                   ZUNI ALBUQUERQUE 2005                           Real         5555 Zuni Rd.      $40,344.63
                                                                                                                Page 11 of 19




                   C/O RAY STONE                                   Property     SE #27
                   INCORPORATED                                    Lease for    Albuquerque,
                   550 HOWE AVE. STE. 100                          Location #   NM 87108
 53          321   SACRAMENTO, CA 95825                            321


10014280v7
                   OAK REALTY PARTNERS,                           Real         111 Coors Blvd.   $39,745.10
                   INC.                                           Property     N.W., Suite D
                   1155 KELLY JOHNSON BLVD                        Lease for    Albuquerque,
                   STE 302                                        Location #   NM 87121
                   COLORADO SPRINGS, CO                           333
 54          333   80920
                   FOX PLAZA                                      Real         5551 Alameda      $27,416.67
                   5559 ALAMEDA AVENUE                            Property     El Paso, TX
                   ACCOUNTS RECEIVABLE                            Lease for    79905
                   DEPT.                                          Location #
 55          383   EL PASO, TX 79905                              383
                   J & M PROPERTIES, LLC      Fallas              Real         301 E. San        $65,000.00
                   15001 SO. FIGUEROA ST.                         Property     Antonio Ave.
                   GARDENA, CA 90248                              Lease for    El Paso, TX
                                                                                                              Case 18-11801-LSS




                                                                  Location #   79901
 56          387                                                  387
                   FALLAS BORROWER IV, LLC    Fallas              Real         2352 E. Lohman    $28,200.00
                   15001 S. FIGUEROA                              Property     Ave.
                   GARDENA, CA 90248                              Lease for    Las Cruces, NM
                                                                  Location #   88001
                                                                                                              Doc 675-1




 57          500                                                  500
                   FALLAS BORROWER IV, LLC    Fallas              Real         10 Uvalde Road    $64,903.73
                   15001 SO. FIGUEROA ST.                         Property     Houston, TX
                   GARDENA, CA 90248                              Lease for    77015
                                                                  Location #
 58          215                                                  215
                   WEST ROAD PLAZA            Jeff Carruth        Real         10261 North       $12,452.00
                                                                                                              Filed 10/18/18




                   P.O. BOX 202059            Weycer, Kaplan,     Property     Freeway
                   DALLAS, TX 75320"2059      Pulaski & Zuber,    Lease for    Suite 150
                                              P.C.                Location #   Houston, TX
                   WEST ROAD PLAZA            3030 Matlock Rd.,   298          77037
                   C/O UNILEV MANAGEMENT      Suite 201
                   CORP.                      Arlington, TX
                   2211 N. FRY ROAD, STE. 1   76015
                   KATY, TX 77449             (817) 795-5416
                                                                                                              Page 12 of 19




                                              (866) 666-5322
 59          298                              jcarruth@wkpz.com
                   JONES 1960 CROSSROADS                          Real         10835 Jones Rd.   $17,325.00
                   LLC                                            Property     Houston, TX
 60          180                                                  Lease for    77065

10014280v7
                   C/O SPI, LLC FOR JONES 1960                         Location #
                   CROSSROADS                                          180
                   10800 GOSLING #130564
                   SPRING, TX 77393
                   FESTIVAL PROPERTIES, INC                            Real         310 FM 1960        $16,956.00
                   1215 GESSNER DRIVE                                  Property     Rd. #200
                   LISA MAREK                                          Lease for    Houston, TX
                   HOUSTON, TX 77055                                   Location #   77090"
 61          181                                                       181
                   FALLAS BORROWER III, LLC      Fallas                Real         8541 W. Belfort    $25,342.33
                   15001 SO. FIGUEROA ST.                              Property     St.
                   GARDENA, CA 90248                                   Lease for    Houston, TX
                                                                       Location #   77071
 62          216                                                       216
                                                                                                                                  Case 18-11801-LSS




                   EM CENTER, INC                Vianey Garza, Esq.    Real         11703 Eastex       $26,776.52
                   C/O GREAT PROSPERITY          HooverSlovacek        Property     Freeway
                   EQUITIES, INC                 Galleria Tower II     Lease for    Houston, TX
                   PO BOX 2983                   5051 Westheimer,      Location #   77039
                   SUGAR LAND, TX 77487"2983     Suite 1200            235
                                                 Houston, TX 77056
                                                                                                                                  Doc 675-1




                                                 O 713.977.8686 / F
                                                 713.977.5395
                                                 garza@hooverslova
 63          235                                 cek.com
                   PRIME NOBLE REALTY, LP                              Real         14485 Bellaire     $25,252.00
                   14485 BELLAIRE BLVD                                 Property     Boulevard, Suite
                   HOUSTON, TX 77083                                   Lease for    C
                                                                                                                                  Filed 10/18/18




                                                                       Location #   Houston, TX
 64          239                                                       239          77083
                   NATIONAL RETAIL               Robert L. LeHane      Real         8006 S. Gessner    $94,414.40   $133,527.77
                   PROPERTIES, L.P.              Jennifer D. Raviele   Property     Houston, TX
                   450 SOUTH ORANGE AVE.         Kelley Drye &         Lease for    77036
                   SUTE 900                      Warren LLP            Location #
                   ATTN VP ASSET MGMT &          101 Park Avenue       688
                   GENERAL COUNSEL               New York, New
                                                                                                                                  Page 13 of 19




                   ORLANDO, FL 32801             York 10178
                                                 Tel: 212-808-7800
 65          688                                 Fax: 212-808-7897




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                                             KDWBankruptcyDe
                                             partment@kelleydry
                                             e.com
                                             rlehane@kelleydrye
                                             .com
                                             jraviele@kelleydrye
                                             .com
                   FALLAS BORROWER IV, LLC   Fallas                Real         1201 Farragut       $29,784.00
                   15001 SO. FIGUEROA ST.                          Property     Laredo, TX
                   GARDENA, CA 90248                               Lease for    78040
                                                                   Location #
 66          229                                                   229
                   FALLAS BORROWER IV, LLC   Fallas                Real         501 E. 6th Street   $32,043.67
                   15001 S. FIGUEROA ST.                           Property     Del Rio, TX
                                                                                                                              Case 18-11801-LSS




                   GARDENA, CA 90248                               Lease for    78840
                                                                   Location #
 67          295                                                   295
                   FALLAS BORROWER IV, LLC   Fallas                Real         455 S. Bibb         $42,180.00
                   15001 S FIGUEROA STREET                         Property     Avenue
                   GARDENA, CA 90248                               Lease for    Eagle Pass, TX
                                                                                                                              Doc 675-1




                                                                   Location #   78852
 68          334                                                   334
                   BUCKINGHAM STATION, LLC   Saul Ewing            Real         1455 E.             $44,000.01   $83,883.35
                   C/O PHILLIPS EDISON &     Arnstein & Lehr       Property     Buckingham
                   COMPANY                   LLP                   Lease for    Rd., #400
                   1501 NORTHLAKE DR         Maria Ellena          Location #   Richardson, TX
                   CINCINNATI, OH 45249      Chavez-Ruark, Esq.    164          75081
                                                                                                                              Filed 10/18/18




                                             500 East Pratt
                                             Street, 9th Floor
                                             Baltimore, MD
                                             21202
                                             (410) 332-8797
                                             maria.ruark@saul.c
                                             om
                                                                                                                              Page 14 of 19




                                             Saul Ewing
                                             Arnstein & Lehr
                                             LLP
                                             Lucian Murley,
 69          164                             Esquire

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                                            1201 North Market
                                            Street, Suite 2300
                                            P.O. Box 1266
                                            Wilmington, DE
                                            19899
                                            (302) 421-6898
                                            luke.murley@saul.c
                                            om
                   KRS PARTNERSHIP, LTD     Karen C. Bifferato   Real         2223 S. Buckner   $44,440.36   $57,452.97
                   4501 SUNBELT DRIVE       Connolly Gallagher   Property     Blvd.
                   STE. B                   LLP                  Lease for    # 225
                   ADDISON, TX 75001        1000 N. West         Location #   Dallas, TX
                                            Street, Suite 1400   245          77093
                                            Wilmington, DE
                                                                                                                          Case 18-11801-LSS




                                            19801
                                            (302) 888-6221
                                            kbifferato@connoll
                                            ygallagher.com
                                             and
                                                                                                                          Doc 675-1




                                            Frances A. Smith
                                            Shackelford,
                                            Bowen, McKinley
                                            & Norton, LLP
                                            9201 N. Central
                                            Expressway, 4th
                                            Floor
                                            Dallas, TX 75231
                                                                                                                          Filed 10/18/18




 70          245                            (214) 780-1400
                   TOWN CROSSING SHOPPING   Saul Ewing           Real         3600 B Gus        $29,931.46   $39,384.87
                   CENTER                   Arnstein & Lehr      Property     Thomasson Rd.
                   C/O PHILLIPS EDISON &    LLP                  Lease for    Mesquite, TX
                   COMPANY                  Maria Ellena         Location #   75150
                   11501 NORTHLAKE DRIVE    Chavez-Ruark, Esq.   691
                   CINCINNATI, OH 45249     500 East Pratt
                                                                                                                          Page 15 of 19




                                            Street, 9th Floor
                                            Baltimore, MD
                                            21202
 71          691                            (410) 332-8797



10014280v7
                                              maria.ruark@saul.c
                                              om

                                              Saul Ewing
                                              Arnstein & Lehr
                                              LLP
                                              Lucian Murley,
                                              Esquire
                                              1201 North Market
                                              Street, Suite 2300
                                              P.O. Box 1266
                                              Wilmington, DE
                                              19899
                                              (302) 421-6898
                                                                                                                            Case 18-11801-LSS




                                              luke.murley@saul.c
                                              om
                   BRIXMOR HOLDINGS 12 SPE    Ballard Spahr LLP     Real         626              $34,672.00   $58,967.07
                   LLC                        Attn: David L.        Property     Wynnewood
                   C/O BRIXMOR PROPERTY       Pollack, Esq.         Lease for    Village, # 225
                   GROUP                      51st Floor - Mellon   Location #   Dallas, TX
                                                                                                                            Doc 675-1




                   450 LEXINGTON AVE., 13TH   Bank Center           226          75224
                   FLOOR                      1735 Market Street
                   ATTN: GENERAL COUNSEL      Philadelphia, PA
                   NEW YORK, NY 10017         19103
                   BRIXMOR HOLDINGS 12 SPE    (215) 864-8325
                   LLC                        (215) 864-9473
                   C/O BRIXMOR PROPERTY       pollack@ballardspa
                   GROUP                      hr.com
                                                                                                                            Filed 10/18/18




                   1525 FARADAY AVE.
                   SUITE 350                  Ballard Spahr LLP
                   ATTN: REGIONAL COUNSEL     Attn: Leslie C.
                   CARLSBAD, CA 92008         Heilman (person to
                                              contact)
                                              919 N. Market
                                              Street, 11th Floor
                                                                                                                            Page 16 of 19




                                              Wilmington, DE
                                              19801
                                              (302) 252-4465
 72          226                              (302) 252-4466



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                                                heilmanl@ballardsp
                                                ahr.com

                                                Ballard Spahr LLP
                                                Attn: Dustin P.
                                                Branch
                                                2029 Century Park
                                                East, Suite 800
                                                Los Angeles, CA
                                                90067-3012
                                                (424) 204-4354
                                                (424) 204-4350
                                                branchd@ballardspa
                                                hr.com
                                                                                                                                Case 18-11801-LSS




                   FALLAS BORROWER IV, LLC      Fallas                Real         4613 E.          $15,950.00
                   15001 S FIGUEROA ST                                Property     Lancaster
                   GARDENA, CA 90248                                  Lease for    Fort Worth, TX
                                                                      Location #   76103
 73          419                                                      419
                   WESLACO PALM PLAZA LTD                             Real         1015 North TX    $28,233.34
                                                                                                                                Doc 675-1




                   P.O. BOX 461406                                    Property     Blvd.
                   SAN ANTONIO, TX 78246"1406                         Lease for    Weslaco, TX
                                                                      Location #   78596
                   WESLACO PALM PLAZA LTD                             233
                   4515 SAN PEDRO
 74          233   SAN ANTONIO, TX 78212
                   J & M PROPERTIES, LP         Fallas                Real         901 Dunlap       $12,120.00
                                                                                                                                Filed 10/18/18




                   15001 SO. FIGUEROA ST.                             Property     Avenue
                   GARDENA, CA 90248                                  Lease for    Mission, TX
                                                                      Location #   78572
 75          251                                                      251
                   FALLAS BORROWER III, LLC     Fallas                Real         1700 S. 23rd     $31,550.00
                   15001 SO. FIGUEROA ST.                             Property     Street
                   GARDENA, CA 90248                                  Lease for    McAllen, TX
                                                                      Location #   78503
                                                                                                                                Page 17 of 19




 76          297                                                      297
                   YABUCOA/BANCO POPULAR        Filed Claim No. 420   Real         #100, Cabo       $112,564.32   $188,343.16
                   PO. BOX 190858               magali.purcell@roo    Property     Rojo
                   ATTN MR. ISRAEL KOPEL        mstogo.com            Lease for    PR 00623
 77          712   AMSTER

10014280v7
                   SAN JUAN, PR 00919"0858                            Location #
                                                                      712
                   PDCM / SCOTIABANK            Filed Claim No. 420   Real         153 KM 13.7       $97,232.25    $120,685.65
                   PO. BOX 190858               magali.purcell@roo    Property     Coamo, PR
                   ATTN MR. ISRAEL KOPEL        mstogo.com            Lease for    00769
                   AMSTER                                             Location #
 78          713   SAN JUAN, PR 00919"0858                            713
                   YABUCOA / BANCO                                    Real         Center-PR 111                   $133,423.10
                   SANTANDER                                          Property     KM 17.6
                   PO. BOX 190858                                     Lease for    San Sebastian,
                   ATTN MR. ISRAEL KOPEL                              Location #   PR 00685
                   AMSTER                                             719
 79          719   SAN JUAN, PR 00919"0858
                   B.V. PROPERTIES, INC                               Real         State Road No     $162,400.00
                                                                                                                                 Case 18-11801-LSS




                   137 YAUCO PLAZA 1                                  Property     128, Km 0.5,
                   YAUCO, PR 00698                                    Lease for    Susua Ward,
                                                                      Location #   Yauco, PR
 80          725                                                      725
                   RTG Properties (PR) Inc      Filed Claim No. 173   Real         State Road 2,     $181,483.31
                   ROOMS TO GO, PR              magali.purcell@roo    Property     Ponce By-Pass
                                                                                                                                 Doc 675-1




                   100 PLAZA PRADERA, STE. 20   mstogo.com            Lease for    Ponce, PR
                   PMB 465                                            Location #   00731
 81          729   TOA BAJA, PR 00949"3840                            729
                   PDCM / FIRST BANK PR         Filed Claim No. 420   Real         Castro Ave Int.   $126,683.60   $257,826.37
                   PO.BOX 190858                magali.purcell@roo    Property     Arcoiris
                   ATTN MR. ISRAEL KOPEL        mstogo.com            Lease for    San Juan, PR
                   AMSTER                                             Location #   00908
                                                                                                                                 Filed 10/18/18




 82          717   SAN JUAN, PR 00919"0858                            717
                   BPP RETAIL PROPERTIES, LLC                         Real         Carr # 203 Exp.   $168,102.76
                   PO BOX 71465                                       Property     Chayanne
                   SAN JUAN, PR 00936"8566                            Lease for    San Lorenzo,
                                                                      Location #   PR 00754
 83          724                                                      724
                   GATOR REXVILLE OWNER,        Filed Claim No. 269   Real         167 Las           $21,941.67
                   LLC                          No Attorney Listed    Property     Cumbres Ave
                                                                                                                                 Page 18 of 19




                   7850 NW 146TH STREET 4TH                           Lease for    (PR 199)
                   FL                                                 Location #   Bayamon, PR
 84          730   MIAMI LAKES, FL 33016                              730
                   PDCM BANCO POPULAR           Filed Claim No. 420   Real         172 Int PR 1      $216,489.47   $259,407.87
 85          718   PO.BOX 190858                                      Property

10014280v7
                   ATTN MR. ISRAEL KOPEL     magali.purcell@roo   Lease for    Cauguas, PR
                   AMSTER                    mstogo.com           Location #   00725
                   SAN JUAN, PR 00919"0858                        718
                   ONE BY ONE, LLC                                Real         Carr. # 3         $50,265.00
                   P.O. BOX 441                                   Property     Fajardo
                   FAJARDO, PR 00738                              Lease for    PR 00738
                                                                  Location #
 86          722                                                  722
                   S.A. PROPERTIES, INC.                          Real         Carr. No. Two     $51,508.16
                   PO BOX 3389                                    Property     (2), Km. 30.2,
                   MAYAGUEZ, PR 00681"3389                        Lease for    Bo Espinoza
                                                                  Location #   Vega Alta, PR
 87          726                                                  726          00692
                                                                                                $4,666,458.42
                                                                                                                Case 18-11801-LSS




TOTAL CURES SCHEDULED BY DEBTORS INCLUDING MICHAEL FALLAS LOCATIONS: $4,666,458.42

TOTAL CURES FOR MICHAEL FALLAS LOCATIONS: $2,781,379.39
                                                                                                                Doc 675-1




TOTAL CURES FOR LANDLORDS NOT INCLUDING MICHAEL FALLAS LOCATIONS BEFORE FILING OF CURE AMOUNT
OBJECTIONS: $1,885,079.03

ADDITIONAL SUMS DUE BASED UPON FILED OBJECTIONS RESPECTING CURE AMOUNTS: $709,729.60
                                                                                                                Filed 10/18/18
                                                                                                                Page 19 of 19




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